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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF TEXAS
                UNITED STATES
                     FORT     DISTRICT
                          WORTH        COURT
                                DIVISION
            FOR THE NORTHERN DISTRICT OF TEXAS
     REGINALEA KEMP, FORT WORTH DIVISION

        Plaintiff,
     BM318,  LLC C/O TIMOTHY BARTON,
     PRESIDENT, ET AL.,
     v.                                                No. 4:23-cv-00841-P
        Appellants,
     REGIONS BANK ET AL.,
     v.                                                No. 4:24-cv-00863-P
        Defendants.
     COURTNEY C. THOMAS, ET AL .,
                             ORDER
        Before the Court is Plaintiff’s Unopposed Motion for Leave to File
        Appellees.
     Second Amended Complaint. ECF No. 18. Having considered the Motion
                              FINAL JUDGMENT
     and applicable docket entries, the Court GRANTS the Motion.
        Pursuant to Federal Rule of Civil Procedure 58 and this Court’s
         SOGranting
     Order   ORDERED      on this Motion
                       Appellees’ 18th day
                                         to of September
                                            Dismiss      2023.
                                                    (ECF No. 24), the Court
     finds this appeal should be and hereby is DISMISSED with prejudice.

        SO ORDERED on this 4th day of February 2025.




                         ______________________________________________
                         Mark T. Pittman
                         UNITED STATES DISTRICT JUDGE
